Case 1:17-cr-10101-STA   Document 76   Filed 05/22/18   Page 1 of 1   PageID 149



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                            EASTERN DIVISION


UNITED STATES OF AMERICA,

      Plaintiff,

v.                                              Case No. 17-10101-STA

ANTONIO GAULDIN,

      Defendant.


          ORDER RESETTING SENTENCING AND NOTICE OF RESETTING


      Upon motion of the defendant, consent of the Unites States,

and for good cause shown, it is hereby:

      ORDERED, ADJUDGED, and DECREED that the sentencing is reset

to Monday, June 25, 2018 at 11:00 a.m.



      Entered this 22nd day of May, 2018.




                                   s/S. Thomas Anderson
                                   S. Thomas Anderson
                                   Chief United States District Judge
